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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  ------------------------------------------------------x
  In re                                                 :
                                                        :     In Chapter 7
           SHARMIL MCKEE                                :
                                                        :     Bankruptcy No. 17-10941(JKF)
                                      Debtor            :
                                                        :
                                                        :
  ------------------------------------------------------x

                                                  ORDER

          AND NOW, this 7th day of December, 2017, upon consideration of the

  Motion to Quash Subpoena and For a Protective Order filed by the subpoenaed

  witness, Joseph Rotan (the “Motion”) and any response filed thereto, it is hereby

  ORDERED that:

          1.       The Motion is GRANTED.

          2.       The subpoena issued to Joseph Rotan in the above-captioned matter is

                   QUASHED, and a PROTECTIVE ORDER is hereby ISSUED shielding

                   him from further subpoenas in this matter without leave of Court.

                                                       By the Court:




                                                       JEAN K. FITZSIMON
                                                       U.S. Bankruptcy Judge
